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                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                            No. 13-cv-0237 MV/SMV
                                                                  11-cr-1065 MV
ACXEL BARRERA-MUNOZ,

       Defendant.

                                  ORDER TO SHOW CAUSE

       THIS MATTER is before the Court sua sponte. The record reflects that recent mailings to

Defendant were returned undelivered, and the file contains no other address for him. [Docs. 5 and

6] (mail sent to Defendant returned, marked as “not deliverable as addressed” and “unable to

forward”). It appears that Defendant has been released from custody or transferred without advising

the Court of his new address, as required by D.N.M.LR-Civ 83.6, and has therefore severed contact

with the Court. Defendant’s failure to comply with the Court’s local rules demonstrates a manifest

lack of interest in litigating his claims. See Martinez v. IRS, 744 F.2d 71, 73 (10th Cir. 1984)

(federal district courts have inherent power to impose a variety of sanctions on litigants in order to

regulate their dockets and promote judicial efficiency); Link v. Wabash R.R. Co., 370 U.S. 626,

629-30 (1962) (federal district courts have authority to dismiss an action for failure to prosecute to

avoid undue delay); Okla. Publ’g Co. v. Powell, No. 78-1856, 1980 WL 6687, at *2 (10th Cir. Mar.

7, 1980) (unpublished) (the federal district courts’ authority to dismiss an action sua sponte for

failure to prosecute is clearly established). Defendant’s appeal having been dismissed, Order and
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Judgment [CR Doc. 125-1], he will be required to show cause why his § 2255 motion should not be

dismissed. Failure to respond may result in dismissal without further notice.

       IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, within 14 days

of entry of this Order, Defendant shall file a response showing cause why his § 2255 motion should

not be dismissed.

       IT IS SO ORDERED.



                                                            _____________________________
                                                            STEPHAN M. VIDMAR
                                                            United States Magistrate Judge
